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                      UNITED STATES DISTRICT COURT
                             DISTRICT OF MAINE
_________________________________________
ROXANNE JOY                               )
                                          )
PLAINTIFF                                 )
                                          )
v.                                        )  CIVIL NO. 2:16-cv-262-NT
                                          )
RUSHMORE LOAN MANAGEMENT                  )
SERVICES                                  )
                                          )
DEFENDANT                                 )
________________________________________ )

                               STIPULATION OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(ii), Plaintiff, Roxanne Joy, and Defendant, Rushmore

Loan Management Services stipulate and agree to dismiss the above-captioned action with

prejudice. This dismissal shall be without award of costs to any party, and each party shall bear

its own attorneys’ fees and other expenses related to this action.



Date: December 7, 2017

                                                      /s/ Andrea Bopp Stark
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                                                      Christopher J. Keach, Esq.
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                                                      Attorneys for Plaintiff Roxanne Joy

                                                      /s/ Adam J. Shub
                                                      Adam J. Shub, Esq.
                                                      Preti, Flaherty, Beliveau & Pachios, LLP
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                                                       One City Center, 6th Floor
                                                       Portland, ME 04101
                                                       Attorney for Defendant Rushmore Loan
                                                       Management Services



                                 CERTIFICATE OF SERVICE

         I, Susan Black, hereby certify that I am over eighteen years old and caused a true and correct
copy of the Stipulation Of Dismissal to be served on the parties per the Court’s ECF electronic
filing system, on December 7, 2017.


 Dated: December 7, 2017



                                                   By: /s/ Susan Black
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